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                                                                             U.S. DISTRICT COURT
                     IN THE UNITED STATES DISTRICT COURT
                                                                            DiSTRICT   or ~IEBRASK/\
                         FOR THE DISTRICT OF NEBRASKA                      2008 HAY -8 PH 2: 32
UNITED STATES OF AMERICA,)                                   CASE NO. 4:0~~!f&~f         HIE CLE~~
                           )
                Plaintiff, )
                           )                                      ORDER
     -vs­                  )
                           )
JAYRO A. FLORES,           )
                           )
                Defendant. )

       THIS MATTER comes before the Court on defendant's oral motion to transport.

Defendant is indigent and in need of non-custodial transportation to Phoenix, AZ.,

immediately following his detention hearing on today's date in the above captioned matter.

Being fully advised in the premises, this Court finds that said motion should be granted.

      ACCORDINGLY, IT IS ORDERED:

       1.    That defendant's motion is granted. J.~   l-arT'if
       2.    That the U.S. Marshals shall provide non-custodial transportation and

subsistence (including lodging, if necessary) for defendant to travel from Lincoln, NE, to

Phoenix, AZ., forthwith.   Said travel may be the less expensive of either ground

transportation with subsistence or air travel with subsistence.

       DATED this 8th day of May, 2008.

                                         BY THE COURT




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                                         United States Magistrate JUdge
